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                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          JAN 23 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
ENVIRONMENTAL PROTECTION                        No. 20-15040
INFORMATION CENTER,
                                                D.C. No. 3:19-cv-06643-EMC
                Plaintiff-Appellee,             Northern District of California,
                                                San Francisco
 v.
                                                ORDER
ANN CARLSON, in her official capacity as
the Forest Supervisor of the Mendocino
National Forest; UNITED STATES
FOREST SERVICE,

                Defendants,

 v.

SIERRA PACIFIC INDUSTRIES, Proposed
Intervenor-Defendant,

                Movant-Appellant.

Before: PAEZ, M. SMITH, and N.R. SMITH, Circuit Judges.

      The court sua sponte expedites the briefing and hearing of this appeal. The

opening brief and excerpts of record are due February 18, 2020; the answering

brief is due March 10, 2020; and the optional reply brief is due within 14 days after

service of the answering brief.

      No streamlined extensions of time will be approved. See 9th Cir. R. 31-

2.2(a)(1). No written motions for extensions of time under Ninth Circuit Rule 31-
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2.2(b) will be granted absent extraordinary and compelling circumstances.

      The Clerk shall place this appeal, along with appeal No. 19-17479, on the

calendar for the month of April 2020. See 9th Cir. Gen. Order 3.3(g).




                                        2                                   20-15040
